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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

  IN RE:                                     §
                                             §
  2999TC ACQUISITIONS, LLC,                  §          CASE NO. 21-31954-HDH
                                             §          CHAPTER 11
         Debtor.                             §

                ORDER REGARDING REQUEST FOR EXPEDITED HEARING

        The request for an expedited hearing on 2999TC Acquisitions, LLC’s Emergency Motion
 to Extend Time and Motion to Compel (the “Motions”) [Docket Nos. 128 and 129] filed by
 2999TC Acquisitions, LLC (“Debtor”) is GRANTED.

         An expedited hearing will be held on the Motion on                       before the
 Honorable Harlin D. Hale, United States Bankruptcy Court, 1100 Commerce Street, 14th Floor,
 Dallas, Texas 75242.

                                 # # # END OF ORDER # # #


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